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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 CHICAGO DIVISION


                                               §
 NORFOLK SOUTHERN RAILWAY                      §
 COMPANY,                                      §
 650 West Peachtree Street N.W.                §
 Atlanta, GA 30308                             §
                                               § Civil Action No. [ ]
                       Plaintiff,              §
                                               §
 v.                                            §
                                               §
 INTERNATIONAL ASSOCIATION OF                  §
 SHEET METAL, AIR, RAIL, AND                   §
 TRANSPORTATION WORKERS -                      §
 TRANSPORTATION DIVISION                       §
 24950 Country Club Blvd.                      §
 North Olmsted, OH 44070                       §
                                               §
 BROTHERHOOD OF LOCOMOTIVE                     §
 ENGINEERS AND TRAINMEN,                       §
 7061 E. Pleasant Valley Rd.                   §
 Independence, OH 44131                        §
                                               §
 BROTHERHOOD OF MAINTENANCE                    §
 OF WAY EMPLOYES DIVISION OF                   §
 THE INTERNATIONAL                             §
 BROTHERHOOD OF TEAMSTERS,                     §
 41475 Gardenbrook Rd.                         §
 Novi, MI 48375                                §
                    Defendants.                §
                                               §



                                         COMPLAINT

       1.      Plaintiff Norfolk Southern Railway Company (“Norfolk Southern” or “NS”)

brings this civil action for declaratory relief pursuant to the Declaratory Judgment Act, 28 U.S.C.

§ 2201, and the Railway Labor Act (“RLA”), 45 U.S.C. §§ 151-163, against Defendant
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International Association of Sheet Metal, Air, Rail, and Transportation Workers – Transportation

Division (“SMART-TD”), Defendant Brotherhood of Locomotive Engineers and Trainmen

(“BLET”), and Defendant Brotherhood of Maintenance of Way Employes Division of the

International Brotherhood of Teamsters (“BMWED) (together, the “Unions” or “Defendants”).

        2.      This dispute arises from Norfolk Southern’s announcement on October 20, 2021,

that it will comply with the Executive Order issued by President Biden on September 9, 2021

and subsequent guidance issued by the President’s Safer Federal Workforce Task Force (“Task

Force”) requiring all “covered employees” of federal contractors (including Norfolk Southern) to

be fully vaccinated against COVID-19 no later than December 8, 2021 (the “vaccine mandate”).

NS maintains that its actions are permitted under the express and implied terms of its existing

collective bargaining agreements with each of these Unions.

        3.      Defendants have opposed virtually identical mandates on other Class I railroads,

and two of them have already filed suits against one of those railroads. On information and

belief, Defendants contend that Norfolk Southern likewise lacks authority under its collective

bargaining agreements to require compliance with the vaccine mandate and/or to implement

terms for complying with the vaccine mandate.

        4.      It is at least arguable that Norfolk Southern has the right under its existing labor

contracts to require compliance with the vaccine mandate, and to implement terms for such

compliance, which means that this case presents a “minor dispute.” Under Sections 2 and 3 of

the RLA, such disputes must be resolved through negotiation and/or binding arbitration. 45

U.S.C. §§ 152, 153 First (i). Because the Defendants disagree, there is a live case or controversy

over the proper characterization of this dispute, and Norfolk Southern is entitled to declaratory

relief to resolve that matter.



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                                             PARTIES

       5.      Plaintiff Norfolk Southern Railway Company is a common carrier by railroad

engaged in interstate commerce and is a “carrier” within the meaning of the RLA Section 1 First,

45 U.S.C. § 151.

       6.      Defendant SMART-TD is an unincorporated association and a labor union.

SMART-TD is a representative within the meaning of the RLA, 45 U.S.C. § 151 Sixth, and

represents conductors, brakemen, and switchmen employed by Norfolk Southern. SMART-TD’s

principal place of business is 24950 Country Club Blvd, North Olmsted, OH 44070. Members of

SMART-TD have performed and continue to perform work in this judicial district.

       7.      Defendant BLET is an unincorporated association and a labor union. BLET is a

representative within the meaning of the RLA, 45 U.S.C. § 151 Sixth, and represents locomotive

engineers and trainmen employed by Norfolk Southern. BLET’s principal place of business is

7061 E Pleasant Valley Rd, Independence, OH 44131. Members of BLET have performed and

continue to perform work in this judicial district.

       8.      Defendant BMWED is an unincorporated association and a labor union.

BMWED is a “representative” within the meaning of Section 1, Sixth of the RLA, 45 U.S.C. §

151, Sixth, and represents maintenance of way workers employed by Norfolk Southern.

BMWED’s principal place of business is 41475 Gardenbrook Road, Novi, Michigan 48375.

Members of the BMWED have performed and continue to perform work in this judicial district.

                                 JURISDICTION AND VENUE

       9.      This Court has jurisdiction over the subject matter of this civil action under 28

U.S.C. §§ 1331 and 1337 because this matter raises a question under the RLA, a federal law.

Federal district courts have jurisdiction to issue declarations and injunctions enforcing arbitration



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and other requirements of the RLA. See, e.g., Consol. Rail Corp. v. Ry. Labor Execs. Ass’n, 491

U.S. 299, 303 (1989).

       10.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b). Norfolk

Southern operates trains into and out of Chicago, and a substantial portion of the employees

affected by the parties’ dispute over the vaccine mandate work in this judicial district.

                                              FACTS

       11.     The Unions represent employees who operate Norfolk Southern’s trains and who

maintain Norfolk Southern’s track.

       12.     Norfolk Southern is party to a variety of collective bargaining agreements with

the Unions (and various other unions). These agreements consist of both express, written terms

as well as implied terms that arise through past practice.

       13.     Norfolk Southern has a long-standing and well-settled past practice of unilaterally

changing its rules and policies governing medical qualifications and fitness-for-duty standards

for employees represented by the Unions. Employees who do not meet the qualifications or

standards for their position can be suspended from service. Applying these standards, Norfolk

Southern regularly makes fitness-for-duty assessments regarding individual employees. Given

these long-standing past practices, Norfolk Southern has an implied right under its labor

agreements to establish new medical qualifications and/or to make fitness-for-duty

determinations based on revised standards.

       14.     Norfolk Southern also has a long-standing and well-settled past practice of

unilaterally changing its rules and policies governing position requirements, medical standards,

and safety in response to lawful federal government directives. More specifically, as applicable

federal laws and regulations change – either as a result of new laws being enacted or of existing



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laws being amended – Norfolk Southern routinely modifies its own rules to comply, even when

doing so requires changes in its employees’ terms and conditions of employment. Accordingly,

Norfolk Southern has an implied right under its labor agreements to implement new federally-

mandated rules.

       15.     Norfolk Southern’s implied right under its labor agreements to enact changes as

necessary to comply with federal law or regulations is evidenced by a number of specific

examples. One prominent example is the federal Hours of Service Act, which limits the number

of consecutive hours that certain employees, including locomotive engineers and conductors, can

be on-duty, and prescribes the minimum time that employees must be off-duty before they can

go back on-duty. In 2008, as part of the Rail Safety Improvement Act of 2008, Congress

amended the Hours of Service Act to, among other things, increase the minimum off-duty period

from 8 consecutive hours to 10 consecutive hours, and to limit locomotive engineers and

conductors to 276 hours per calendar month of time on-duty working or in other mandatory

service. Norfolk Southern took action to comply with these amendments, including changing

assignments, without negotiating with the Defendants. The carrier’s authority to do so went

unchallenged by SMART-TD (then known as the United Transportation Union) and BLET.

       16.     Likewise, for decades, NS has, as necessary to comply with changes in federal

law, implemented changes to its policies regarding Engineer Certification, Conductor

Certification, Commercial Driver’s Licenses, and Drug and Alcohol testing. Again, it did so

without negotiating with the Defendants.

       17.     In addition to implicitly authorizing NS to require compliance with the vaccine

mandate, the CBAs between NS and each of the Unions generally incorporate and must be read

in a manner consistent with federal law.



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       18.     The CBAs between NS and each of the Unions authorizes the Union to file a

claim if it believes that the collective bargaining agreement has been violated. If the parties are

unable to resolve the dispute themselves through mandatory “conferences,” the claim can be

submitted to final and binding arbitration. Arbitration is mandated by the RLA. See 45 U.S.C.

§ 153 First.

       19.     On September 9, 2021, President Biden issued an Executive Order titled,

“Executive Order on Ensuring Adequate COVID Safety Protocols for Federal Contractors,”

requiring all federal contractors to comply with all guidance published by the Task Force

regarding the COVID-19 pandemic, and setting a deadline of September 24, 2021 for the Task

Force to issue such guidance.

       20.     On September 24, 2021, the Task Force issued the guidance required by the

Executive Order. The Task Force guidance requires all “covered employees” of federal

contractors to be fully vaccinated against the virus that causes COVID-19 no later than

December 8, 2021. The definition of “covered employees” includes “employees of covered

contractors who are not themselves working on or in connection with a covered contract.”

       21.     Norfolk Southern is a covered contractor subject to the Executive Order and, by

extension, to the guidance issued by the Task Force. The employees represented by the Unions

are therefore “covered employees” within the meaning of the Executive Order and Task Force

guidance.

       22.     On October 20, 2021, Norfolk Southern announced it will comply with the

Executive Order by requiring all of its employees – including those represented by the Union –

to be fully vaccinated against COVID-19, except where an accommodation is legally required.




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       23.     Under the implied contract terms regarding medical standards and compliance

with federal rules outlined above, Norfolk Southern has the right to implement the changes

necessary to comply with the vaccine mandate.

       24.     On information and belief, the Unions oppose Norfolk Southern’s decision to

comply with the vaccine mandate. Based on the position they have taken in related matters, and

on other information and belief, the Unions contend that the actions announced by Norfolk

Southern constitute a “unilateral change” in the parties’ collective bargaining agreements, in

violation of Section 2 Seventh of the Railway Labor Act. The Unions and/or their individual

members maintain that they have the right to strike or engage in other forms of self-help in

response to an alleged unilateral change.

       25.     SMART-TD has recently alleged in federal court that another railroad’s

“unilateral implementation of the vaccine mandate” violates the RLA. It has further stated that

“any attempt by the carriers to circumvent their obligations under the Railway Labor Act will be

met with strong resistance.”

       26.     BLET has also alleged in federal court that another railroad has “unilaterally and

unlawfully altered the CBAs by unilaterally implementing” its version of the vaccine mandate.

       27.     BMWED leadership has likewise stated that the union “remain[s] opposed to any

potential company requirement to get the vaccine . . . .”

       28.     Since Norfolk Southern announced that it will comply with the vaccine mandate,

individual members of the Defendant Unions have begun threatening to engage in walk-outs,

sick-outs, slow-downs or other forms of self-help in response to Norfolk Southern’s decision.

Such actions would cause irreparable harm to Norfolk Southern’s operations, as well as the

interests of Norfolk Southern’s customers and the public at large.



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                                              COUNT I

       29.      Norfolk Southern realleges and incorporates by reference as if fully set forth

herein the allegations of paragraphs 1-28, above.

       30.      A “minor dispute” under the RLA is any dispute arising out of a grievance or over

the interpretation or application of the parties’ collective bargaining agreements concerning rates

of pay, rules, or working conditions. Such disputes are subject to conference between

representatives and mandatory arbitration by specialized boards of adjustment. 45 U.S.C. §§ 152

Sixth, 153. Self-help is unlawful in the case of minor disputes.

       31.      Norfolk Southern and the Unions are engaged in a dispute over the interpretation

and application of their express and implied agreements as they apply to the vaccine mandate.

Based in part on the implied agreement terms outlined above, Norfolk Southern maintains that it

has the right under each CBA to comply with the Executive Order and establish a vaccination

requirement. To the extent that the Unions believe otherwise, it amounts to a dispute over the

interpretation or application of agreements, which is a minor dispute subject to the mandatory

and exclusive procedures of Section 3 First of the RLA, 45 U.S.C. § 153 First. Norfolk Southern

is entitled to a declaratory judgment to that effect.

                                     PRAYER FOR RELIEF

       WHEREFORE, Norfolk Southern asks for judgment against Defendants, and respectfully

prays that the Court:

       A.       Issue a Declaratory Judgment that:

             1. The parties’ dispute over the implementation of the vaccine mandate is a “minor

dispute,” not a major dispute, within the meaning of the RLA; and




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             2. Defendants and their members may not lawfully strike, picket, engage in a work

stoppage, sick out, or slowdown, threaten to do so, or otherwise exercise coercive self-help

against Norfolk Southern, its operating rail subsidiaries and/or affiliates, or encourage others to

do so as a result of the parties’ present dispute.

        B.      Award Norfolk Southern its costs and expenses incurred in this proceeding; and

grant damages and such other and further relief as the Court deems just and proper.

 Dated: October 21, 2021                                 Respectfully submitted,



                                                         /s/ Samantha Woo
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                                                         *application to be admitted pro hac vice
                                                         forthcoming

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